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7
                                   UNITED STATES DISTRICT COURT
8                                       DISTRICT OF NEVADA

9     UNITED STATES OF AMERICA,                           Case No.: 2:20-mj-01105-DJA

10                                                        ORDER
                      Plaintiff,                          STIPULATION TO CONTINUE THE
                                                          PRELIMINARY HEARING
11           vs.                                          (First Request)

12    BRENDA CONTRERAS,

13                    Defendant.

14

15          IT IS HEREBY STIPULATED AND AGREED, by and between NICHOLAS A.

16   TRUTANICH, United States Attorney, and ALLISON REESE, Assistant United States

17   Attorney, counsel for the United States of America, and MAYSOUN FLETCHER, counsel for

18   Defendant BRENDA CONTRERAS, that the preliminary hearing date in the above-captioned

19   matter, currently scheduled for January 11, 2021, at 4:00 p.m., be vacated and continued for sixty

20   (60) days, to a date and time to be set by this Honorable Court.

21          This stipulation is entered into for the following reasons:

22          1.      The Government needs additional time to produce relevant discovery to Defense

23   Counsel.

24


                                                     1
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1               2.   Defense Counsel needs additional time to review the discovery, conduct additional

2    investigation, and confer with the Defendant about how she would like to proceed.

3               3.   The parties agree to the continuance.

4               4.   Defendant BRENDA CONTRERAS is out of custody in this case but remains in

5    custody at the Southern Nevada Detention Center on an ICE detainer and does not object to the

6    continuance.

7               5.   Additionally, denial of this request for continuance could result in a miscarriage of

8    justice.

9               6.   The additional time requested herein is not sought for purposes of delay, but to

10   allow for a potential pre-indictment resolution of the case.

11              7.   The additional time requested by this stipulation, is allowed, with the defendant’s

12   consent under the Federal Rules of Procedure 5.1(d).

13              8.   This is the first request for a continuation of the preliminary hearing.

14              DATED: January 8, 2021

15                                                Respectfully submitted,

16                                                NICHOLAS A. TRUTANICH
                                                  United States Attorney
17
                                                  /s/ Allison Reese
18
                                                  ALLISON REESE
19                                                Assistant United States Attorney
                                                  Attorneys for the Plaintiff
20
                                                  UNITED STATES OF AMERICA
21

22                                                /s/ Maysoun Fletcher
23
                                                  MAYSOUN FLETCHER
                                                  Counsel for Defendant BRENDA CONTRERAS
24


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1                                    UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
2
      UNITED STATES OF AMERICA,                              Case No.: 2:20-mj-01105-DJA
3
                        Plaintiff,                           ORDER
4
                vs.
5
      BRENDA CONTRERAS,
6
                        Defendant.
7

8                                                   ORDER

9               Based on the pending Stipulation of counsel, and good cause appearing therefore, the

10   Court finds that:

11              1.    The Government needs additional time to produce relevant discovery to Defense

12   Counsel.

13              2.    Defense Counsel needs additional time to review the discovery, conduct additional

14   investigation, and confer with the Defendant about how she would like to proceed.

15              3.    Defendant BRENDA CONTRERAS is out of custody in this case but remains in

16   custody at the Southern Nevada Detention Center on an ICE detainer and does not object to the

17   continuance.

18              4.    Additionally, denial of this request for continuance could result in a miscarriage of

19   justice.

20              5.    The additional time requested herein is not sought for purposes of delay, but to

21   allow for a potential pre-indictment resolution of the case.

22              6.    The additional time requested by this stipulation, is allowed, with the defendant’s

23   consent under the Federal Rules of Procedure 5.1(d).

24              7.    This is the first request for a continuation of the preliminary hearing.


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1           For all of the above-stated reasons, the ends of justice would best be served by a

2    continuance of the preliminary hearing date.

3                                      CONCLUSIONS OF LAW

4           The ends of justice served by granting said continuance outweigh the best interest of the

5    public and the defendant, since the failure to grant said continuance would be likely to result in

6    a miscarriage of justice, would deny the parties herein to potentially resolve the case prior to

7    indictment, and further would deny the parties sufficient time and the opportunity within which

8    to be able to effectively and thoroughly prepare for the preliminary hearing, taking into account

9    the exercise of due diligence.

10          The continuance sought herein is allowed, with the defendant’s consent, pursuant to

11   Federal Rules of Procedure 5.1(d).

12                                               ORDER

13          IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled for

14   January 11, 2021, at the hour of 4:00 p.m., be vacated and continued to ________________, 2021,
     March 15, 2021, at 4:00 p.m. Courtroom 3A.
15   at the
         M hour of ______ __.m..
16              10th
     DATED this ______ day of January, 2021.
17

18                                            _______________________________________
                                              THE HONORABLE DANIEL J. ALBREGTS
19                                            UNITED STATES MAGISTRATE JUDGE

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